          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
                  CRIMINAL CASE NO. 3:07cr211-3

UNITED STATES OF AMERICA,                   )
                                            )
                                            )
                  vs.                       )             ORDER
                                            )
                                            )
R. MICHAEL GEE.                             )
                                            )

      THIS MATTER is before the Court on the Defendant’s unopposed

Motion to Extend Time to Serve Objections to Presentence Report to

Probation Office. [Doc. 302].

      The Defendant seeks an additional twenty (20) days to file objections

to the first draft of the Presentence Investigation Report. For the reasons

stated in the motion, it will be allowed.

      Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

Motion to Extend Time to Serve Objections to Presentence Report to

Probation Office [Doc. 302] is GRANTED. The time to respond and file

objections to the Presentence Report is extended to March 18, 2010.
                                        Signed: February 25, 2010




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